        Case 2:10-cv-00094-wks Document 179 Filed 03/20/14 Page 1 of 12




                     UNITED STATES DISTRICT COURT
                               FOR THE
                         DISTRICT OF VERMONT

JENNIFER A. CONNORS,                |
                                    |
              PLAINTIFF             |
         v.                         |
                                    | CASE NO. 2:10-cv-94
DARTMOUTH HITCHCOCK MEDICAL CENTER, | CASE NO. 2:12-cv-51
DARTMOUTH MEDICAL SCHOOL,           |
MARY HITCHCOCK MEMORIAL HOSPITAL, |
DARTMOUTH-HITCHCOCK CLINIC and      |
TRUSTEES OF DARTMOUTH COLLEGE,      |
                                    |
              DEFENDANTS            |




                        CONNORS v DHMC et al
                          Case No. 2:10-cv-94
                               USDC VT
               HON. WILLIAM K. SESSIONS, III, PRESIDING

                      PLAINTIFF’S TRIAL EXHIBIT LIST
                                 (3/20/14)


EXHIBIT          DESCRIPTION            STIPULATED   OFFERED    ADMITTED
    1            Residency Grid              NO
                 WLF Bates 3287
    2          Child and Adolescent          NO
                  Program Grid
                 WLF Bates 3298
    3          Summary Evaluation            NO
                      Grid
               WLF Bates 3288-3297
    4            DHMC Psychiatry             NO
               Residency for Jennifer
                   Connors, MD
                  WLF Bates 3311



                                    Page 1 of 12
     Case 2:10-cv-00094-wks Document 179 Filed 03/20/14 Page 2 of 12




                     CONNORS v DHMC et al
                       Case No. 2:10-cv-94
                            USDC VT
            HON. WILLIAM K. SESSIONS, III, PRESIDING

                  PLAINTIFF’S TRIAL EXHIBIT LIST
                             (3/20/14)


5             Graduate Medical             YES
             Education 2008-09
                 Red Book
              CONNORS RPOD
               000107-000177
6            Global Resident               NO
          Competency Rating Form
           WLF Bates 3300-3301
7            ACGME Program
             Requirements for
             Graduate Medical
           Education in Psychiatry
            WLF Bates 2091-2124
8            James C. Beck, MD             YES
              Curriculum Vitae
            WLF Bates 3302-3310
9            Beck Expert Report            NO
10            Beck Documents               NO
            WLF Bates 1863-2393,
                 3217-3233
11          Jennifer Connors, MD           YES
              Curriculum Vitae
            WLF Bates 3234-3239
12           Psychopharm Clinic            NO
                 Summary
               WLF Bates 2321
13             Evaluations                 YES
             WLF Bates 210-471




                                  Page 2 of 12
     Case 2:10-cv-00094-wks Document 179 Filed 03/20/14 Page 3 of 12




                     CONNORS v DHMC et al
                       Case No. 2:10-cv-94
                            USDC VT
            HON. WILLIAM K. SESSIONS, III, PRESIDING

                   PLAINTIFF’S TRIAL EXHIBIT LIST
                              (3/20/14)


14           Resident/Fellow               YES
               Agreement of
              Appointments
                2006-2009
           WLF Bates 107-109, 110-
                    112
15                Proposed
               Resident/Fellow
                Agreements of
              Appointments and
               Related Emails
              WLF Bates 117-126
16          GMEAC Fair Hearing             YES
                 Policy
              WLF Bates 3-5
17           12/18/06 Sateia-JC            YES
                   Email
               WLF Bates 2017
18          12/18/06 RG-JC Email           YES
                WLF Bates 726
19          2/28/07 Summary of             YES
            Items to be Addressed
              WLF Bates 692-93
20          2/28/07 Summary of             YES
            Items to be Addressed
                w/JC Notes
               WLF Bates 694
21         3/1/07 Schwartz-RG et al        YES
                   emails
                WLF Bates 695



                                  Page 3 of 12
 Case 2:10-cv-00094-wks Document 179 Filed 03/20/14 Page 4 of 12




                 CONNORS v DHMC et al
                   Case No. 2:10-cv-94
                        USDC VT
        HON. WILLIAM K. SESSIONS, III, PRESIDING

              PLAINTIFF’S TRIAL EXHIBIT LIST
                         (3/20/14)


22     RG Note to File 3/10/07        YES
         WLF Bates 696-97
23     3/21/07 Connors-Sateia
               email
           WLF Bates 1319
24       4/3/07 Proposed              YES
         Remediation Plan
         WLF Bates 710-716
25      4/11/07 Remediation           YES
      Plan CONNORS 000280-
                290
26        Kelleher Notes              NO
       CONNORS 000320-321
27        Kelleher Notes              NO
       CONNORS 000323-324
28       Kelleher Notes on
         Remediation Draft
       CONNORS 000325-328
29     4/13/07 Sateia Email to
                RG
          WLF Bates 1321
30      RG Ltr to JC 4/13/07          YES
       CONNORS 000215-216
31      4/13/07 Remediation           YES
                Plan
         WLF Bates 727-28
32        4/16/07 JC-RG
          Correspondence
         WLF Bates 761-762


                             Page 4 of 12
 Case 2:10-cv-00094-wks Document 179 Filed 03/20/14 Page 5 of 12




                 CONNORS v DHMC et al
                   Case No. 2:10-cv-94
                        USDC VT
        HON. WILLIAM K. SESSIONS, III, PRESIDING

               PLAINTIFF’S TRIAL EXHIBIT LIST
                          (3/20/14)


33      4/19/07 JC-RG Email
           WLF Bates 763
34        4/25/07 JC-RG
          Correspondence
         WLF Bates 764-767
35     4/30/07 HWP -RG Email          YES
          CONNORS 000261
36       4/30/07 JC memo to           YES
               Koury
          CONNORS RPOD
              000087
37      4/30/07 JC-Carboneau          YES
           WLF Bates 1083
38        5/10/07 Murray              YES
       Connors RPOD 000049-
                50
39     9/7/07 RG Email and Ltr        YES
               to NHH
          WLF Bates 782-83
40      9/14/07 Remediation           YES
               Plan
         WLF Bates 113-114
41     10/8-11/07 RG - Coursin        YES
               emails
         WLF Bates 785-786
42     11/16-18/07 RG - Coursin       YES
                Emails
          WLF Bates 787-788




                             Page 5 of 12
 Case 2:10-cv-00094-wks Document 179 Filed 03/20/14 Page 6 of 12




                 CONNORS v DHMC et al
                   Case No. 2:10-cv-94
                        USDC VT
        HON. WILLIAM K. SESSIONS, III, PRESIDING

              PLAINTIFF’S TRIAL EXHIBIT LIST
                         (3/20/14)


43     R. Green Email 11/20/07         YES
        Bates Connors 000101
44       11/26-27/07 RG-JC             YES
               Emails
              WLF 789
45       12/21/07 RG Ltr Re            YES
            Meeting w/JC
           WLF Bates 790
46      12/26/07 Coursin-RG
               email
           WLF Bates 791
47     12/27/07 RG-JC emails           YES
           WLF Bates 792
48        4/1/08 LL Email              YES
          WLF Bates 3178
49           4/25/08
       Connors/Wallen Email
          WLF Bates 1335
50          5/08 JC Note
           WLF Bates 1337
51         4/24-5/7/08
              Emails
         WLF Bates 1338-41
52     5/6/08 JC Note to Ladue
           WLF Bates 1342
53        6/3/08 JC Email              YES
          WLF Bates 3163
54     6/3/08 Ladue/JC Email           YES
          WLF Bates 3162

                              Page 6 of 12
 Case 2:10-cv-00094-wks Document 179 Filed 03/20/14 Page 7 of 12




                 CONNORS v DHMC et al
                   Case No. 2:10-cv-94
                        USDC VT
        HON. WILLIAM K. SESSIONS, III, PRESIDING

              PLAINTIFF’S TRIAL EXHIBIT LIST
                         (3/20/14)


55       6/3/08 JC-Catalona
               Email
           WLF Bates 1343
56       6/5/08 Catalona-JC
               Email
           WLF Bates 1344
57       6/5/08 JC-Catalona
               Email
           WLF Bates 1345
58       6/6/08 JC-Lambert
           Correspondence
          WLF Bates 2077
59      6/17/08 LL -JC Email            YES
           WLF Bates 3152
60     9/8/08 RG Note to File           YES
         WLF Bates 811-12
61       9/17/08 Pomerantz              NO
         Email to Psych Dept
          WLF Bates 2334
62         9/18-10/10/08                YES
       JC/Gardner et al Emails
        WLF Bates 3129-3130
63      10/22-24/08 Redacted
           Medical Records
        WLF Bates 2375-2385
64      10/24/08 Summerall              YES
               Email
          WLF Bates 3128




                               Page 7 of 12
     Case 2:10-cv-00094-wks Document 179 Filed 03/20/14 Page 8 of 12




                     CONNORS v DHMC et al
                       Case No. 2:10-cv-94
                            USDC VT
            HON. WILLIAM K. SESSIONS, III, PRESIDING

                  PLAINTIFF’S TRIAL EXHIBIT LIST
                             (3/20/14)


65         10/28/08 Kutter/LL/V.          YES
                  Watts
              WLF Bates 3125
66         11/3-12/4/08 Racusin
           Notes Re: Connors CAP
                Application
                   Bates
           CONNORS/RACUSIN
                 0010-0015
67         11/4/08 Kutter-LL et al
                  Emails
              WLF Bates 3126
68          11/7/08 West-Racusin
               Correspondence
               WLF Bates 664
69            Donnelly-Racusin
               Correspondence
              WLF Bates 680-81
70            11/7/08 V. Watts            YES
               WLF Bates 975
71         11/10/08 Redacted Med          YES
                  Record
             WLF Bates 2370-74
72         11/17/08 Redacted Med          YES
                   Record
             WLF Bates 2361-69
73          Green Email 11/18/08          YES
               WLF Bates 3119
74           11/20/08 RG Memo             YES
              WLF Bates 822-23

                                 Page 8 of 12
 Case 2:10-cv-00094-wks Document 179 Filed 03/20/14 Page 9 of 12




                 CONNORS v DHMC et al
                   Case No. 2:10-cv-94
                        USDC VT
        HON. WILLIAM K. SESSIONS, III, PRESIDING

               PLAINTIFF’S TRIAL EXHIBIT LIST
                          (3/20/14)


75     Bolton Email 11/20/08           YES
           WLF Bates 3117
76       11/20/08 Summerall            YES
              Complaint
                3118
77      11/18-20/08 RG seeks           YES
             info for FFD
                 3119
78       11/20/08 RG Memo              YES
        CONNORS 000108-09


79       12/3/08 JC Emails             YES
         WLF Bates 977-985
80      12/4/08 McClellan/JC           YES
               Email
           WLF Bates 3116
81      12/4/08 FFD no new
        accom. Refer to EAP
       Connors RPOD 000069
82       Koury req to McClellan
       re: info from JC therapist
        12/8/08 Connors RPOD
                 000071
83    12/9/08 JC Consent form          YES
         for EAP-McClellan
          communications
           RPOD 000086
84        “Sheaf Of Emails”            YES
          WLF Bates 814-821



                              Page 9 of 12
 Case 2:10-cv-00094-wks Document 179 Filed 03/20/14 Page 10 of 12




                  CONNORS v DHMC et al
                    Case No. 2:10-cv-94
                         USDC VT
         HON. WILLIAM K. SESSIONS, III, PRESIDING

               PLAINTIFF’S TRIAL EXHIBIT LIST
                          (3/20/14)


85       12/3/08 JC-V. Watts
               Email
            WLF Bates 977
86     12/19/08 LL/Pomerantz           YES
       et al email re: completion
                of PGY3
             WLF Bates 3103
87       Lord Email 12/19/08           YES
           WLF Bates 3115
88      RG Note to File 1/2/09         YES
         WLF Bates 847-848
89      1/15-23/09 JC-V. Watts
                Emails
          WLF Bates 980-983
90       RG Ltr to JC 1/28/09          YES
          WLF Bates 864-65
91        2/12/09 Koury Ltr
           CONNORS 690
92        2/13/09 RG to JC              NO
           WLF Bates 893
93        4/2/09 Wallace-JC             NO
               Emails
           WLF Bates 2338
94     4/10/09 Hallmartel Note         YES
           WLF Bates 2333
95        4/10/09 Sateia Ltr
          Recommendation
         WLF Bates 2178-2179




                              Page 10 of 12
 Case 2:10-cv-00094-wks Document 179 Filed 03/20/14 Page 11 of 12




                  CONNORS v DHMC et al
                    Case No. 2:10-cv-94
                         USDC VT
         HON. WILLIAM K. SESSIONS, III, PRESIDING

               PLAINTIFF’S TRIAL EXHIBIT LIST
                          (3/20/14)


96       6/11/09 RG Memo to             YES
             Fair Hearing
            w/attachments
         WLF Bates 1941-1981
97      Fair Hearing Committee          YES
               Decision
         WLF Bates 1937-1940
98         RG Ltr NH BOM                YES
              10/6/09
          WLF Bates 971-972
99      Licensing materials sent         NO
            by WLF to S&H
          WLF Bates 927-949
100       11/2/09 Summary                NO
              Evaluation
           Resident/Fellow
             Performance
            w/attachment
          WLF Bates 951, 953
101    RG JC Completion Letter           NO
              11/3/09
         WLF Bates 955-956
102      RG Letter Attesting to          NO
           Gen Psych Board
              Eligibility
               11/3/09
            WLF Bates 952
103     DHMC submissions to              NO
         VT and TX licensing
               boards
        Connors 000993-994


                               Page 11 of 12
 Case 2:10-cv-00094-wks Document 179 Filed 03/20/14 Page 12 of 12




                  CONNORS v DHMC et al
                    Case No. 2:10-cv-94
                         USDC VT
         HON. WILLIAM K. SESSIONS, III, PRESIDING

               PLAINTIFF’S TRIAL EXHIBIT LIST
                          (3/20/14)


104      S&H pkg to DHMC               NO
          executed by RG
         WLF Bates 950-972
105     EAP Individual Report
          Printed 12/13/10
          CONNORS RPOD
             000061-85
106      UVM Semi-Annual               NO
         Residency Review
         WLF Bates 3283-86
107       DHMC House Staff
             2007-2008
         WLF Bates 2743-2744
108         7/27/07 Sateia
        Correspondence to NH
        BOM (Sateia Depo Ex 4)
          CONNORS RPOD
               000092
109       DHMC Residency
         Training Program in
           Adult Psychiatry
         WLF Bates 3312-3391




                             Page 12 of 12
